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 6
 7
 8                            UNITED STATES DISTRICT COURT

 9                        CENTRAL DISTRICT OF CALIFORNIA
     PERFECT 10, INC., a California      CASE NO. CV 04-9484 AHM (SHx)
10   corporation,
                                         SECOND AMENDED COMPLAINT
11                Plaintiff,             FOR:
12         v.                                      (1) COPYRIGHT INFRINGEMENT;
                                                   (2) TRADEMARK INFRINGEMENT
13   GOOGLE, INC., a corporation; and              (FEDERAL); (3) TRADEMARK
     DOES 1 through 100, inclusive,                DILUTION (FEDERAL);
14                                                 (4) UNFAIR COMPETITION;
                  Defendant.                       (5) VIOLATION OF RIGHTS OF
15                                                 PUBLICITY; (6) UNJUST
                                                   ENRICHMENT;
16                                                 (7) MISAPPROPRIATION
17
18                                                 DEMAND FOR JURY TRIAL
19
20
           Plaintiff Perfect 10, Inc. (“Perfect 10”) avers:
21
                                JURISDICTION AND VENUE
22
           1.     Jurisdiction. This action arises under the Copyright Act, 17 U.S.C.
23
     § 101 et seq., and the Lanham Act, 15 U.S.C. § 1051 et seq. This Court has
24
     jurisdiction over the subject matter of this action pursuant to 28 U.S.C. §§ 1331,
25
     1338(a) and (b) and principles of supplemental jurisdiction.
26
           2.     Venue. Venue is proper in this Court pursuant to 28 U.S.C. § 1391
27
     (b)(2), (c), and § 1400(a).
28
           3.     Personal Jurisdiction. Personal jurisdiction is proper over the
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 1   Defendants because they either reside in California or the wrongful activity at issue
 2   concerns Defendants’ operation of commercial businesses through which
 3   Defendants knowingly transact business and enter into contracts with individuals
 4   in California, including within the County of Los Angeles. Each of the
 5   Defendants, therefore, has purposefully availed itself of the privilege of doing
 6   business in California, and material elements of Defendants’ wrongdoing occurred
 7   in this State.
 8                                         THE PARTIES
 9          4.        Plaintiff Perfect 10 is a California corporation with its principal place
10   of business in Beverly Hills, California. Plaintiff published the popular magazine
11   PERFECT 10 and owns and operates the internet website located at perfect10.com,
12   which domain name Perfect 10 owns.
13          5.        Defendant Google, Inc. (“Google”) is a California corporation which
14   owns and operates the internet website located at google.com, and has various
15   advertising operations, data storage facilities, mobile phone operations, and other
16   businesses, which among other things, either store unauthorized copyrighted
17   materials, display or distribute unauthorized copyrighted materials, assist others to
18   infringe copyright, or profit from unauthorized copyrighted materials.
19          6.        Does 1 through 100, inclusive, which are businesses owned or
20   controlled by Google which either directly or indirectly profit from and/or directly
21   or indirectly infringe or facilitate the infringement of Perfect 10 intellectual
22   property, are sued herein under fictitious names because their true names and
23   capacities are unknown to Perfect 10. When Perfect 10 ascertains the Doe
24   Defendants’ true names and capacities, it will seek leave to amend this complaint
25   to insert such true names and capacities. Perfect 10 is informed and believes, and
26   on that basis avers, that each Doe defendant acted with defendant Google and is
27   responsible for the harm and damages to Perfect 10 herein averred. Defendant
28   Google and the Doe Defendants are referred to hereinafter collectively as

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 1   “Google.”
 2         7.       Perfect 10 is informed and believes, and on that basis avers, that at all
 3   times material herein, each of the Defendants was the agent and/or employee of the
 4   other Defendants, and, in doing the things herein averred, was acting within the
 5   course and scope of such agency and employment.
 6                            THE BUSINESS OF PERFECT 10
 7         8.       The business of Perfect 10 consists of the design, creation, production,
 8   marketing, promotion, and sale of copyrighted adult entertainment products,
 9   including photographs, magazines, video productions, cell phone downloads, and
10   other media.
11         9.       Perfect 10 was the publisher of the well-known magazine PERFECT
12   10, but was forced to close that magazine because of rampant infringement.
13         10.      Perfect 10 creates or created, and sells or sold, calendars and other
14   merchandise featuring its images, and was involved in the licensing of downloads
15   of images for cell phones, but is not currently earning revenue from that endeavor
16   because of rampant infringement.
17         11.      Perfect 10 owns and operates the internet website perfect10.com.
18   Consumers are provided access to content owned by Perfect 10 and made available
19   by payment of a membership fee of $25.50 per month.
20         12.      Perfect 10’s revenues are currently derived predominantly from sales
21   of memberships to its perfect10.com website. Sales of memberships to the
22   perfect10.com website are made by providing the customer with an individual user
23   name and password to access the website.
24         13.      The Perfect 10 Copyrighted Works: Perfect 10 owns thousands of
25   valuable and unique copyrighted photographs, as well as video productions and
26   other proprietary materials. Perfect 10 owns the copyrights in and to these works
27   (the “Perfect 10 Copyrighted Works”). Perfect 10 has invested, and continues to
28   invest, substantial sums of money, time, effort, and creative talent, to make and

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 1   produce the Perfect 10 Copyrighted Works. In addition, in order to produce and
 2   sell the Perfect 10 Copyrighted Works, Perfect 10 is required to make numerous
 3   payments, including but not limited to model fees, photographer fees, location
 4   costs, styling costs, make up costs, printing costs, film and processing costs, travel
 5   costs, as well as distribution, public relations, legal, and advertising and promotion
 6   costs.
 7            14.   The Perfect 10 Marks: Perfect 10 also is the owner of the valuable
 8   and well-known Perfect 10 family of trademarks, including but not limited to
 9   PERFECT 10, PERFECT10.COM, and P10 (the “Perfect 10 Marks”). These
10   marks are used in commerce by Perfect 10 on and in connection with the sale of its
11   products and services, including PERFECT 10 magazine and perfect10.com.
12   Perfect 10 has spent millions of dollars advertising and promoting the Perfect 10
13   Marks and Perfect 10 products and services bearing these marks. Perfect 10 has
14   built and owns the valuable goodwill symbolized by the Perfect 10 Marks. Three
15   of Perfect 10's registered trademarks, registration numbers 2235145, 2202643, and
16   2573998, have become incontestable under Section 15 of the Lanham Act, 15
17   U.S.C. Section 1065.
18            15.   Goods and services bearing the Perfect 10 Marks have been featured
19   and referred to on numerous television and radio shows (including The Amazing
20   Race, Entourage, The Tonight Show, The Howard Stern Show, The Sopranos,
21   Dawson’s Creek, Battledome, Fox News, Hard Copy, Entertainment Tonight,
22   Extra, The Dating Game, Temptation Island, Monday Night Football, Hannity &
23   Colmes, The O’Reilly Factor, The View, and Jenny Jones), in motion pictures
24   (including Superbad, Knocked Up, Spiderman, American Pie, Hollow Man, and
25   The Way of the Gun), and in newspapers and periodicals.
26            16.   The Perfect 10 Rights of Publicity: Perfect 10 contracts with models
27   in connection with its magazine and website. Perfect 10 secures assignments from
28   some of those models of their rights of publicity, including but not limited to the

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 1   exclusive rights in and to these models’ names and likenesses (the “Perfect 10
 2   Rights of Publicity”). The Perfect 10 Rights of Publicity are valuable because the
 3   identities, including the names and likenesses, of these models are well-known and
 4   popular and attract/attracted purchasers of PERFECT 10 magazine and visitors and
 5   subscribers to perfect10.com.
 6         17.    The success of Perfect 10’s business is almost entirely dependent on
 7   its intellectual property rights. Therefore, the ongoing and massive infringements
 8   of Perfect 10’s rights, as herein described, is devastating to, and threatens the
 9   existence of, Perfect 10’s business.
10                             THE BUSINESS OF GOOGLE
11         18.    Google operates the internet website google.com, along with multiple
12   foreign versions of that website that are accessible in the United States and
13   throughout the world. In addition to running the website google.com, Google
14   stores hundreds of thousands of unauthorized copyrighted images on its servers
15   and provides website operators and users with a variety of services that assist them
16   in infringing copyright. This case deals with that portion of Google that provides
17   hundreds of thousands of unlicensed adult images for free to users, a feature of
18   Google that involves a massive infringement of copyright for commercial gain.
19   Google earns its revenue primarily by attracting consumers, whose presence allows
20   it to attract and charge fees to advertisers. Google offers two distinct search
21   functions. The standard search function is called “Web Search,” which allows the
22   consumer to specify certain search terms. When the search terms are input into a
23   box on Google’s website, computer programs created by Google generate a list of
24   links to websites purportedly related to the search terms. In response to each
25   search, a list of websites appears on google.com along with a short excerpt from
26   each website, and a link from Google to that website. For most searches on Perfect
27   10 model names, Google arranges its web search results so that a) websites
28   offering images, particularly infringing images, appear near the top of Google

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 1   search results, and b) Google advertising affiliates receive favorable placement,
 2   both in position and in number of listings, to the point where Google search results
 3   on Perfect 10 model names represent a commercial exploitation of Perfect 10
 4   rights of publicity and copyrights, not any type of beneficial search function.
 5   Furthermore, Perfect 10 is informed and believes, and on that basis avers, that
 6   many of Google’s web search results provide information that is highly
 7   confidential, such as addresses of family members and social security numbers;
 8   damaging to businesses, such as confidential passwords; or defamatory, such as
 9   labeling an innocent model or mainstream celebrity a participant in filmed explicit
10   sex or prostitution. Google makes money by frequently placing advertising on or
11   about such search results. In its Web Search results, Google also often provides a
12   link to Google servers that contain copies of one or more pages that purportedly
13   represent an archived “snapshot” of the identified websites as they appeared
14   several days to many months earlier. These archived pages (and/or the electronic
15   information necessary to retrieve and display them) are stored on Google’s servers,
16   at times for ten months or longer, and are available in many cases with infringing
17   Perfect 10 images when the underlying website no longer exists. Google makes
18   such pages available to consumers for viewing, printing, copying, downloading,
19   distributing to others, e-mailing, and otherwise manipulating. Included among the
20   archived pages on Google’s servers are many which in-line link, or frame,
21   infringing copies of the Perfect 10 Copyrighted Works.
22         19.    Google offers hundreds of thousands of adult images for which it does
23   not own licenses through a program called “Image Search. Google “Image
24   Search” functions like a gigantic infringing website with a search function. In
25   response to searches, Google offers reduced-size images of various sizes which
26   will be referred to as thumbnails even though in many cases they are substantially
27   larger than thumbnails and larger than they need to be to simply direct users to
28   sources of information. Google makes these thumbnails from larger images and

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 1   copies the thumbnails onto its servers. On information and belief, in the process of
 2   making its thumbnails, or for other reasons, Google copies the larger images onto
 3   its servers. When users click on Google thumbnails, they are sent to a second page
 4   on google.com where they can generally view or download a full-size version of
 5   the previewed image. Included among the unauthorized images offered by Google
 6   are thousands of high quality reduced-size copies of the Perfect 10 Copyrighted
 7   Works. In addition to Perfect 10 Copyrighted Works, Google offers hundreds of
 8   thousands of unauthorized marketable works ranging from the most tame (images
 9   of mainstream Hollywood celebrities and supermodels), to the most explicit,
10   including thousands of bestiality images (images of humans having sex with
11   animals), and fake images of celebrities involved in explicit sexual acts. In many
12   cases, Google also places Google ads next to such images on Google’s second
13   page (see Exhibit 4). Google makes its images available to viewers of any age.
14   Upon information and belief, Google does not keep records of the names and ages
15   of the models and/or actors depicted in the images of actual sexually explicit
16   conduct which it displays. Google has been criticized for its flagrant showing of
17   pornographic images to viewers of any age by many entities, including the New
18   York State Consumer Protection Board, Jeffrey Toback, a New York State
19   legislator, and Huch Medien GmbH in Germany, which filed suit against Google,
20   claiming among other things that Google Image Search was providing hundreds of
21   pornographic images to users of all ages, including “clearly prohibited animal
22   pornography.”
23         20.    In or around September of 2007, Google substantially changed the
24   images it provides to users in response to searches on Perfect 10 model names. At
25   the time Perfect 10’s First Amended Complaint was filed, Google provided a
26   limited number of images, which were largely copies of images of the actual
27   model, albeit infringing. Now, Google provides hundreds of images, many of
28   which have nothing to do with the model, including extremely explicit images of

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 1   other people engaged in sex, including sex with animals. Google’s mish-mash of
 2   infringing, defamatory, and unrelated pornography that it provides in its search
 3   results on Perfect 10 model names is causing Perfect 10 and its models major
 4   damage, and provides no public benefit whatsoever.
 5         21.    Each year, Google sells billions of dollars in advertising to websites
 6   which advertise so as to be seen by consumers who visit Google. The greater the
 7   amount and quality of content that Google provides to consumers via its Web
 8   Search or Image Search, the more consumers Google attracts and the more
 9   advertising revenue it generates. High quality adult images, such as the Perfect 10
10   Copyrighted Works, attract millions of visitors to Google and thus substantially
11   increase Google’s advertising revenue.
12         22.    Much of the adult content provided by Google is knowingly copied by
13   Google from websites (Stolen Content Websites) that infringe the Perfect 10
14   Copyrighted Works and the Perfect 10 Marks, as well as the rights of other owners
15   of intellectual property, including by reproducing, distributing, adapting, and
16   publicly displaying the Perfect 10 Copyrighted Works and by improperly using
17   the Perfect 10 Marks in commerce, or by displaying unauthorized passwords to
18   perfect10.com and other paysites.
19         23.    Stolen Content Websites, which can easily be located en masse
20   through Google search functions, are filled with unauthorized versions of the
21   Perfect 10 Copyrighted Works and unlawfully use the Perfect 10 Marks.
22         24.    It would be virtually impossible for consumers to locate most Stolen
23   Content Websites if they were not directed to them by Google. The vast
24   preponderance of Stolen Content Websites have no brand associated with them nor
25   have they created any goodwill, as has Perfect 10, that would draw consumers.
26         25.    Indeed, Stolen Content Websites usually are obscure, judgment proof,
27   and sometimes operate from foreign countries such as Russia, Hungary, Poland,
28   Indonesia, France, Turkey, Argentina, Spain, Korea, Mexico, and the Czech

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 1   Republic (although they are accessible and display the infringing images in the
 2   United States and target United States consumers), and/or fraudulently appear to
 3   do so under the cover of false contact information. Further, Stolen Content
 4   Websites often disappear and reappear with the same or similar content under
 5   different website addresses (“URLs”) and/or use many different URLs that all link
 6   to the same website.
 7         26.    Google provides consumers with unauthorized access to the Perfect
 8   10 Copyrighted Works in at least six distinct ways, all of which generate visitors to
 9   google.com and advertising revenue to Google.
10                (a)   First, Google searches the internet for images, including
11   infringing copies of the Perfect 10 Copyrighted Works, and without authorization
12   copies them to Google’s servers. A number of these images are celebrity “fakes”
13   which contain a celebrity face superimposed on the body of a Perfect 10 model,
14   contained in a Perfect 10 copyrighted image. Google then provides these
15   infringing copies to consumers through Google Image Search. Google displays
16   such infringing copies on its website in several different sizes. In order for Google
17   to provide search engine services, it is not necessary for Google to copy or to
18   maintain them on its servers. It certainly is not necessary for Google to offer any
19   adult images at all, let alone hundreds of thousands owned by different copyright
20   holders, from the most tame to the most exceedingly explicit. Under the guise of
21   being a search engine, Google has become the world’s largest provider of adult
22   images, which are made available for free to anyone, supplanting all other adult
23   websites, which offer at best a small fraction of the images provided by Google.
24   The infringing Perfect 10 copies made and provided by Google, even in their
25   reduced-size version, are large and detailed enough to serve as a substitute to those
26   offered on perfect10.com for a subscription fee. Examples of such infringing
27   copies, which are generated by searching for Perfect 10 model names using
28   Google, are attached hereto as Exhibit 1, and by this reference incorporated herein.

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  1   All of the images in Exhibit 1, except one image on the first page, are Perfect 10
  2   Copyrighted Works. The reduced-size images are exact substitutes for the images
  3   that Perfect 10 licenses for cell phone downloads. Clicking on the Perfect 10
  4   reduced-size images provides the consumer the option of subscribing to or
  5   otherwise viewing the content on a website that misappropriated the Perfect 10
  6   image and takes the consumer away from perfect10.com rather than to it. In many
  7   cases, clicking on the Perfect 10 reduced-size image provides the consumer with a
  8   full size image, without even having to leave google.com, as set forth below.
  9                (b)   Second, Google displays, also through Image Search (in what is
 10   known as a “window”), unauthorized copies of the Perfect 10 Copyrighted Works
 11   in various sizes, including full-size. These unauthorized Perfect 10 images appear
 12   to Google users on a second page on google.com after they click on a Google
 13   thumbnail of either a Perfect 10 Copyrighted Work or an image belonging to a
 14   third party. Although Google claims that such Perfect 10 images displayed in this
 15   manner do not reside on Google servers, Perfect 10 disputes that contention, and
 16   whether such full-size images reside on Google servers or not, as a practical matter
 17   such Perfect 10 Copyrighted Works appear to be on google.com and Google is
 18   making them available to consumers to view, copy, download, and otherwise
 19   manipulate without the need to take any action (such as “clicking” on a link) to
 20   leave Google. Regardless of the technical location of the full-size infringing
 21   images, Google’s display of the reduced-size version of Perfect 10’s images and
 22   the reduced size images of other rights holders, its inclusion of a link from such
 23   images to the Stolen Content Website which misappropriated those images, and
 24   Google’s in-line link and framing of Perfect 10 images in various sizes including
 25   full-size via a window, destroys the market for and/or value of the Perfect 10
 26   Copyrighted Works and promotes the websites which misappropriated them.
 27   Consumers need not go to perfect10.com in order to see the full-sized images.
 28   Rather, they can either view such images in the window provided by Google or

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  1   they can view the image in its “original” context—that is, on the Stolen Content
  2   Website to which Google provides a direct link. Once directed to the Stolen
  3   Content Website, the Google user can view many more infringing Perfect 10
  4   images. Examples of Google’s unauthorized in-line linking and framing of full-
  5   size Perfect 10 Copyrighted Works are shown in Exhibit 2. The first three pages
  6   show Google ads placed next to full-size Perfect 10 images despite repeated
  7   complaints by Perfect 10. The last page of Exhibit 2 shows how one Perfect 10
  8   reduced-size image, when clicked on, can provide the Google user with many
  9   additional unauthorized Perfect 10 copyrighted images, all of which can be
 10   enlarged full-size and downloaded for free. Thus, Google’s acts and conduct
 11   obviate the need to pay for a membership to perfect10.com or subscribe to or
 12   purchase Perfect 10 magazine and effectively make such images worthless to
 13   Perfect 10.
 14                 (c)   Third, besides providing the user with the opportunity to view
 15   full-size infringing Perfect 10 images by clicking on the thumbnail as described
 16   above, Google also gives the user the opportunity to see the full-size image in
 17   isolation by clicking on the Google-provided “See full-size image” link. Once the
 18   “See full-size image” link is clicked upon, the user views a typically full-size
 19   image in isolation, just as would be the case had the user instead subscribed to
 20   perfect10.com, The Google thumbnail in conjunction with the Google “See full-
 21   size image” link serve the exact same purpose as the corresponding Perfect 10
 22   thumbnail: to show the full-size image.
 23                 (d) Fourth, through Google’s “Web Search” function, Google creates
 24   multiple links that take consumers directly to infringing copies of Perfect 10
 25   Copyrighted Works on Stolen Content Websites. In most cases, Google also
 26   provides an archive link (called a cache link) which displays images from Stolen
 27   Content Websites that Google makes available for many months and in some cases
 28   when such images are no longer available on the underlying websites, and even

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  1   when the underlying website no longer exists. The Google cache link allows
  2   consumers to view, print, copy, download, and distribute to others such images.
  3   These images include full-sized copies of Perfect 10 Copyrighted Works. Google
  4   may create thousands of links for a given Pirate Website, each of which, when
  5   clicked on, returns a different page within the Pirate Website that contains
  6   unauthorized Perfect 10 Copyrighted Works or infringements of the Perfect 10
  7   Marks. Each such link created by Google permits a consumer to move from one
  8   infringing web page to another and to access the entirety of the infringing content
  9   on the Stolen Content Website.
 10                (e)   Fifth, in certain instances, particularly when the search term
 11   “perfect10.com” is used by the consumer, Google links to Stolen Content Websites
 12   which contain otherwise unavailable unique user names/passwords permitting
 13   access to perfect10.com. Google also directly disseminates such perfect10.com
 14   user names/passwords on google.com in its search results. Google thereby
 15   knowingly facilitates access to perfect10.com, without authority and without
 16   consumers purchasing a membership, permitting users to gain free access to
 17   virtually the entirety of the Perfect 10 Copyrighted Works. An example of Google
 18   disseminating username/password combinations on google.com that have allowed
 19   free access to perfect10.com is shown in Exhibit 3, attached hereto and by this
 20   reference incorporated herein. The unauthorized username/password combinations
 21   in Exhibit 3 are charrons/071727; Russell/1776; irish79/und79dew; steveh/steviera;
 22   Remy/soccer; biggins/biggins. The first listing shown thanks Google for allowing
 23   the user to find unauthorized passwords. The second page of Exhibit 3 shows
 24   some of the damage done to the perfect10.com website in 2002 from unauthorized
 25   dissemination of perfect10.com usernames/passwords. The top entry (for the
 26   username patty16) shows that this username was used over 10 million times
 27   without authorization to access and download images from perfect10.com in 2002.
 28   Google is secondarily liable for the copyright infringement of its users who gain

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  1   unauthorized access to the copyrighted images on Perfect 10’s website through
  2   user names/passwords disseminated by Google.
  3                (f)   Sixth, as a means of generating additional advertising and other
  4   revenues, Google markets and sells the purported right to use the Perfect 10 Marks
  5   and the Perfect 10 Rights of Publicity to advertisers and other entities, including
  6   Stolen Content Websites, which Google knows have no connection to Perfect 10.
  7   As a result, when consumers use the Perfect 10 Marks, or the names of Perfect 10
  8   models, or click on the reduced size image of a Perfect 10 magazine cover obtained
  9   via a Google Image Search, to find materials that are created by, authorized by, or
 10   affiliated with Perfect 10, Google instead misdirects and links consumers to Stolen
 11   Content Websites and other locations on the internet that infringe Perfect 10’s
 12   rights, and/or that compete with Perfect 10. A significant number of consumers
 13   thereby are likely to be deceived into believing that the Stolen Content Websites
 14   are sponsored by, authorized by, or affiliated with Perfect 10. Google thus
 15   financially benefits by diverting consumers who seek to purchase or otherwise use
 16   or consider Perfect 10’s products and services to unaffiliated, unauthorized, and
 17   infringing Stolen Content Websites.
 18         27.    All of the Perfect 10 Copyrighted Works which Google provides to
 19   consumers, both on Google’s own servers and by framing or linking to Stolen
 20   Content Websites, are used without authorization. Google engages in and
 21   facilitates the massive and ongoing violations of Perfect 10’s rights even though
 22   Google is aware that Perfect 10 never authorized or consented to the use by Google
 23   or the Stolen Content Websites of the Perfect 10 Copyrighted Works, the Perfect
 24   10 Marks, the Perfect 10 Rights of Publicity, or perfect10.com passwords. Google
 25   is aware of the lack of Perfect 10’s authorization and consent for the following
 26   reasons, among others:
 27                (a)   First, Google has been provided actual notice, in the form of at
 28   least sixty-five Digital Millennium Copyright Act (“DMCA”) notices, of

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  1   infringements of Perfect 10’s rights on both Google’s servers and on Stolen
  2   Content Websites found through Google. These notices informed Google of
  3   infringements of the Perfect 10 Copyrighted Works, the Perfect 10 Marks, and
  4   unauthorized perfect10.com passwords on at least 2,000 websites to which Google
  5   has linked, copied and/or displayed infringing image from, received advertising
  6   revenues from, and/or partnered with, in Google’s system. Google has continued
  7   to copy, display, and distribute tens of thousands of Perfect 10 Copyrighted Works
  8   despite these notices, and Google did not take any steps at all to cease this
  9   infringing conduct for more than three years until Perfect 10 sent it a draft
 10   complaint in the hopes of resolving this matter. Despite more than sixty-five
 11   DMCA notices from Perfect 10, the number of Perfect 10 infringements on
 12   Google’s servers and available via Google's Web Search has grown, not declined.
 13   Google continues to knowingly link thousands of reduced-size Perfect 10 images
 14   on its servers, including Perfect 10 magazine covers, to Stolen Content Websites
 15   which misappropriated those images, and continues to allow consumers to view,
 16   copy, download and otherwise manipulate full-sized Perfect 10 copyrighted images
 17   via a window on Google servers. Perfect 10 is informed and believes, and on that
 18   basis avers, that at present, there are at least 10,000,000 links in Google’s system,
 19   leading to at least twenty-thousand distinct copies of unauthorized Perfect 10
 20   Copyrighted Works on Stolen Content Websites to which Google links, and which
 21   Google has copied and distributed from its servers. Google has received actual
 22   notice that Stolen Content Websites to which Google continues to link contain
 23   Perfect 10 Copyrighted Works and in virtually all cases, has not disabled access to
 24   those websites and continues to make such images available to consumers. In
 25   addition, there are vast numbers of images available without authorization via
 26   stolen perfect10.com passwords which are distributed by Google, as described
 27   above.
 28                (b)    Second, the Perfect 10 Copyrighted Works on Google’s servers

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  1   and on the Stolen Content Websites usually contain visible Perfect 10 Marks or
  2   visible copyright notices in the name of Perfect 10. Google often describes such
  3   Perfect 10 images on its servers using the term “P10,” which is synonymous with
  4   Perfect 10, and often includes the volume and issue number of the Perfect 10
  5   magazine in which that image appeared. Nevertheless, Google links consumers to
  6   the website that misappropriated those images rather than to perfect10.com.
  7   Similarly, unauthorized, high quality adult images owned by other content
  8   providers (e.g., Playboy) on these same Stolen Content Websites and on Google’s
  9   servers also typically contain visible copyright notices or trademarks.
 10                (c)   Third, after a consumer has used Google’s “Search Images”
 11   function to locate reduced-size Perfect 10 Copyrighted Works, and clicked on one
 12   of those images, Google informs the consumer that the “Image may be scaled
 13   down and subject to copyright.” Additionally, many of the Stolen Content
 14   Websites contain “disclaimers” that state that they do not own their content, with
 15   language to the effect that they have copied their images from various websites and
 16   that the copyrights for such images remain with their creators.
 17         28.    Google’s involvement with Stolen Content Websites is not limited to
 18   the conduct described above. As Google’s business has matured, it
 19   increasingly has sought additional sources of revenue and, accordingly, has
 20   increasingly become involved with, knowledgeable of, in control of, and
 21   financially tied to, the infringing conduct and material on Stolen Content Websites,
 22   which Google exploits for advertising purposes, and in some cases, even hosts.
 23   Because the existence of high quality adult images such as the Perfect 10
 24   Copyrighted Works substantially enhances Google’s advertising revenues, not only
 25   has Google copied infringing images from Stolen Content Websites onto its servers
 26   and linked to millions of other such infringing images, Google also has established
 27   advertising programs by which Stolen Content Websites can, for a fee, have their
 28   advertisements appear in response to searches performed on various keywords,

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  1   including those constituting the Perfect 10 Marks and the Perfect 10 Rights of
  2   Publicity.
  3         29.    One such program is called “Adwords,” in which Stolen Content
  4   Websites and other websites pay Google a fee when a consumer using Google
  5   clicks on an advertisement for the Stolen Content Website or other websites. To
  6   become part of this program, Stolen Content Websites must submit to Google a
  7   description of their content, the website URL, and keywords related to the website.
  8   When a consumer performs a search on these keywords, the website will appear in
  9   a special “sponsored links” section, at or near the top of the generated list of search
 10   results provided by Google.
 11         30.    In order to optimize the likelihood that an Adwords website will be
 12   found and clicked on, thereby generating a fee for Google, Google reviews the
 13   submitted keywords and recommends additional keywords. For example, when
 14   the keyword phrase “all natural models” (Perfect 10’s niche in the adult
 15   marketplace) is submitted, Google has recommended the additional keywords
 16   “Perfect 10,” “P10,” and the names of well-known Perfect 10 models, whose
 17   names and likenesses are among the Perfect 10 Rights of Publicity. Additionally,
 18   when the keyword phrase “hacked perfect10.com passwords” has been submitted,
 19   Google recommended as keywords various names of password hacking websites
 20   that have distributed unauthorized perfect10.com passwords, such as piratepasses,
 21   crazypasses, xxxpassmaster, allpasswords, and vikingpasses. Although Google
 22   claims that much of its business is beneficial, a large portion is not. In addition to
 23   recommending keywords that misuse intellectual property, Google also
 24   recommends to its advertising partners keywords suggestive of illegal conduct
 25   involving child pornography, bestiality, and/or incest. For example, Google has
 26   suggested to advertisers that they use keywords such as “illegal preteen sex,”
 27   “preteen child sex,” “babysex,” “preteen incest sex,” “preteen animal sex,”
 28   “kiddieporn,” “free illegal preteen sex pics,” and the other equally offensive terms

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  1   shown in Exhibit 5. Exhibit 5 consists of keywords that, as stated by Google, “you
  2   may want to add to your keyword list in addition to preteen sex.” Further
  3   demonstrative of its disregard for both the law and common decency is the fact that
  4   Google also suggests as keywords, the names of major celebrities such as Nicole
  5   Kidman, Jennifer Aniston, Cameron Diaz, and Angelina Jolie, to a potential
  6   advertiser offering fake images of Britney Spears engaged in oral sex. This can be
  7   seen in Exhibit 6. Perfect 10 is informed and believes, and on that basis avers, that
  8   neither Google nor its infringing advertisers have the right to use the names of such
  9   celebrities for commercial purposes.
 10         31.    A significant number of the Google Adwords advertisers sell or
 11   otherwise offer thousands of Perfect 10 Copyrighted Works, most of which display
 12   Perfect 10 trademarks and/or copyright notices. Despite repeated notice from
 13   Perfect 10, Google has continued to accept advertising from such infringers and
 14   continues to provide thousands of links to their websites.
 15         32.    When a search on “Perfect 10” is performed, Google has caused
 16   several sponsored advertisements to appear – including one for an “online
 17   magazine” – that have no affiliation or relationship with Perfect 10. Similarly,
 18   other sponsored advertisements appear when searches are performed using the
 19   names of Perfect 10 models that are among the Perfect 10 Rights of Publicity.
 20   Such conduct is calculated to and does mislead, deceive, or confuse consumers into
 21   believing that Perfect 10 endorses, authorizes, or is associated, affiliated, or
 22   connected with these unaffiliated websites. Google has continued to profit from
 23   fees resulting from searches on the Perfect 10 Marks and that infringe the Perfect
 24   10 Rights of Publicity despite repeated notice from Perfect 10 and demands that
 25   Google cease such unlawful conduct.
 26         33.    A second advertising program operated by Google is referred to as
 27   “Adsense.” In the Adsense program, Google solicits ads for, and places Google
 28   advertisements on, websites, including Stolen Content Websites. These websites

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  1   partner with Google so that Google advertisements and/or Google search boxes
  2   appear on the websites, in many cases adjacent to Perfect 10 Copyrighted Works.
  3   When consumers click on Google advertisements on Stolen Content Websites,
  4   Google shares the revenues it receives with those websites. Google has an
  5   incentive to direct traffic to websites participating in the Adsense program because
  6   by doing so Google increases the likelihood that consumers will click on Google
  7   advertisements, generating additional fees to Google. In spite of repeated actual
  8   notice from Perfect 10, Google advertisements have appeared next to more than
  9   10,000 Perfect 10 Copyrighted Works, and many Stolen Content Websites
 10   continue to be part of Google’s Adsense program, despite the fact that Google
 11   purports to require such sites to agree not to breach any duty toward, or rights of,
 12   any person or entity including rights of intellectual property, publicity, and
 13   privacy, and to require such sites to agree to be subject to the review and approval
 14   of Google at any time. There are currently hundreds of Perfect 10 reduced-size
 15   images on Google’s servers which when clicked on, promote websites that are
 16   Google advertising partners. Perfect 10 is informed and believes, and on that basis
 17   avers, that Google is currently sharing revenue with Stolen Content Websites from
 18   clicks on Google advertisements placed next to millions of misappropriated
 19   pictures belonging to Perfect 10 and other rights holders.
 20         34.      Although Google claims it presents search results in an order based on
 21   “relevance” to search terms, Perfect 10 is informed and believes, and on that basis
 22   avers, that websites that are part of the Adsense program receive from Google a
 23   more prominent listing position than they otherwise would receive based solely on
 24   "relevance."
 25         35.      Perfect 10 is informed and believes, and on that basis avers, that
 26   Google encourages advertisers, including Stolen Content Websites, to use
 27   trademarks, including the Perfect 10 Marks, in order to cause consumers searching
 28   for goods or services associated with those marks to be misdirected to Google’s

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  1   advertisers. Since Google gets paid on a pay-per-click-through basis, it has a
  2   strong incentive to ensure that websites that are part of the Adwords or Adsense
  3   programs are in prime positions in Google’s search results, and that content,
  4   including Perfect 10 Copyrighted Works, contained on such websites reside in
  5   prominent positions on Google’s servers.
  6         36.    Perfect 10 is informed and believes, and on that basis avers, that
  7   Google has received millions of dollars in revenue from its Adwords and Adsense
  8   agreements with Stolen Content Websites and other websites, and from advertising
  9   revenues generated as a result of the massive amounts of high quality infringing
 10   copies of Perfect 10 Copyrighted Works on Google’s servers and on linked Stolen
 11   Content Websites.
 12         37.    In addition to storing hundreds of thousands of unauthorized
 13   copyrighted images on its servers, and arranging Google search results on Perfect
 14   10 model names to favor infringing Google advertising affiliates, to the point
 15   where Google is a commercial advertising operation featuring massive quantities
 16   of infringing content to draw traffic rather than a legitimate search engine, Google
 17   provides website owners and users with many different services which assist them
 18   in infringing copyright, besides those mentioned above. Among these services are
 19   Google’s cache highlight function, which allows users to immediately locate
 20   images associated with a particular model name from cached Google web pages
 21   which may contain hundreds of infringing images; Google’s cache function, which
 22   can effectively offer Google users an infringing website with its infringing images
 23   even when that website no longer exists; Google Page Creator, which makes it
 24   easier for Stolen Content Website operators to upload and display infringing
 25   images on their websites; Google analytics, which allows pirate webmasters to
 26   track their traffic and other statistics and optimize their revenues; news groups
 27   including Google groups and other entities whose servers are owned or controlled
 28   by Google which store infringing images; Google’s translation option, which

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  1   allows users to read Google translated versions of infringing websites in their own
  2   language, so that they may find and download infringing materials from those
  3   websites; and Google hosting services, including blogspot and others, which host
  4   infringing websites and store infringing images.
  5
  6                              FIRST CLAIM FOR RELIEF
  7                                (Copyright Infringement)
  8         38.    Perfect 10 re-avers and incorporates herein by reference each and
  9   every averment of paragraphs 1 through 37 above as though fully set forth herein.
 10         39.    Perfect 10 is the owner of all right, title, and interest to each of the
 11   Perfect 10 Copyrighted Works. Perfect 10 has registered its works with the United
 12   States Copyright Office. Perfect 10 has been issued United States copyright
 13   certificates listed on Exhibit 7, attached hereto.
 14         40.    Each of the Perfect 10 Copyrighted Works consists of material
 15   original with Perfect 10 and each is copyrightable subject matter.
 16         41.    Google has copied, reproduced, distributed, adapted, and/or publicly
 17   displayed the Perfect 10 Copyrighted Works without the consent or authority of
 18   Perfect 10, thereby directly infringing Perfect 10’s copyrights.
 19         42.    Google’s conduct constitutes infringement of Perfect 10’s copyrights
 20   and exclusive rights under copyright in the Perfect 10 Copyrighted Works in
 21   violation of Sections 106 and 501, et. seq. of the United States Copyright Act, 17
 22   U.S.C. §§ 106 and 501.
 23         43.    Google has induced, caused, and/or materially contributed to
 24   unauthorized reproduction, adaptation, public display, and/or distribution of the
 25   Perfect 10 Copyrighted Works by infringing websites, by other websites purporting
 26   to be search engines to which Google provides infringing images and other search
 27   results, and by Google’s users and advertisers, and thus to the direct infringement
 28   of the Perfect 10 Copyrighted Works.

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  1         44.    Google has and had knowledge that infringing Perfect 10 images were
  2   available using its search engine, could take simple measures to prevent further
  3   damage to Perfect 10's copyrighted works, and failed to take such steps.
  4         45.    Google’s conduct constitutes contributory infringement of Perfect
  5   10’s copyrights and exclusive rights under copyright in the Perfect 10 Copyrighted
  6   Works.
  7         46.    Google has had the right and ability to supervise and/or control the
  8   infringing conduct of infringing websites to which it links, has advertising
  9   relationships (AdSense and Adwords affiliates), and/or hosts. It also has the right
 10   and ability to supervise and/or control the infringing conduct of other search
 11   engines to which it provides search results, as well as the ability of its users to
 12   download infringing content from Google search results, either through its
 13   agreements with such websites or its ability to terminate links or other services to
 14   such websites. Google also has the right and ability to stop or limit its users from
 15   using unauthorized user names/passwords which they obtain through Google to
 16   unlawfully access Perfect 10’s website. However, Google has failed and refused to
 17   exercise such supervision and/or control. As a direct and proximate result of such
 18   failure and refusal, Google and its users, advertisers, affiliates, and the Stolen
 19   Content Websites to which Google links, have infringed Plaintiff’s copyrights in
 20   the Perfect 10 Copyrighted Works, as set forth above. Google has derived a direct
 21   financial benefit from fees charged to the Stolen Content Websites in Google’s
 22   Adwords programs, from the fees Google has collected from clicks on Google
 23   advertisements placed on affiliated websites purporting to be search engines and on
 24   Stolen Content Websites containing Perfect 10 Copyrighted Works and Perfect 10
 25   passwords, from the fees Google receives from affiliates for providing in part,
 26   infringing images and links to infringing content, and from the increased traffic to
 27   Google and advertising dollars resulting from the general “draw” of the Perfect 10
 28   Copyrighted Works. Google is profiting from direct infringement while declining

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  1   to exercise a right to stop or limit it.
  2          47.    Google’s conduct constitutes vicarious infringement of Perfect 10’s
  3   copyrights and exclusive rights under copyright in the Perfect 10 Copyrighted
  4   Works.
  5          48.    The infringement of Perfect 10’s rights in and to each of the Perfect
  6   10 Copyrighted Works constitutes a separate and distinct act of infringement.
  7          49.    The acts of infringement by Google have been willful, intentional, and
  8   purposeful, in reckless disregard of and with indifference to the rights of Perfect
  9   10.
 10          50.    As a direct and proximate result of the infringements by Google of
 11   Perfect 10’s copyrights and exclusive rights under copyright in the Perfect 10
 12   Copyrighted Works, Perfect 10 is entitled to its actual damages and Google’s
 13   profits pursuant to 17 U.S.C. § 504(b).
 14          51.    Alternatively, Perfect 10 is entitled to statutory damages, pursuant to
 15   17 U.S.C. § 504(c).
 16          52.    Google’s conduct is causing and, unless enjoined and restrained by
 17   this Court, will continue to cause, Perfect 10 great and irreparable injury that
 18   cannot fully be compensated in money. Perfect 10 has no adequate remedy at law.
 19   Pursuant to 17 U.S.C. § 502, Perfect 10 is entitled to injunctive relief prohibiting
 20   further infringements of Perfect 10’s copyrights.
 21          53.    Perfect 10 further is entitled to its attorneys’ fees and costs pursuant to
 22   17 U.S.C. § 505.
 23                             SECOND CLAIM FOR RELIEF
 24                                 (Trademark Infringement)
 25          54.    Perfect 10 re-avers and incorporates herein by reference each and
 26   every averment of paragraphs 1 through 37 above as though fully set forth herein.
 27          55.    Perfect 10 is the owner of the Perfect 10 Marks, including the
 28   registered trademark/service marks PERFECT 10, PERFECT10.COM, and P10.

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  1   The United States trademark/service mark registrations for PERFECT 10,
  2   PERFECT10.COM, and P10 include Registration Nos. 2,202,643, 2,235,145,
  3   2,573,998, 2,709,583, and 3,094,437 for, among other goods and services,
  4   entertainment services in the nature of adult entertainment and beauty contests
  5   provided via a global computer network; entertainment services in the nature of
  6   beauty contests; and magazines featuring adult entertainment, beauty contests,
  7   pictures of female models, interviews, fiction, and articles on human relations,
  8   sports, entertainment, lifestyles, fitness, and calendars and unmounted
  9   photographs.
 10         56.    The Perfect 10 Marks have been continuously used in commerce by
 11   Perfect 10 and its predecessors, and are widely known throughout the United
 12   States. Three of Perfect 10's registered trademarks, registration numbers 2235145,
 13   2202643, and 2573998 have become incontestable under Section 15 of the Lanham
 14   Act, 15 U.S.C. Section 1065.
 15         57.    Perfect 10 has spent millions of dollars promoting and advertising the
 16   Perfect 10 Marks and products and services bearing the Perfect 10 Marks, and has
 17   marketed and sold millions of dollars of products and services under the Perfect 10
 18   Marks.
 19         58.    As a direct result of the aforementioned use, promotion, and
 20   advertisement of the Perfect 10 Marks, Perfect 10 has built up and now owns
 21   valuable goodwill symbolized by the Perfect 10 Marks.
 22         59.    As a direct result of the care and skill exercised by Perfect 10 over the
 23   nature and quality of goods and services sold under the Perfect 10 Marks and the
 24   extensive promotion, advertising, sale, and public acceptance thereof, the Perfect
 25   10 Marks have become known as a symbol of the goodwill that Perfect 10 has
 26   created throughout the United States and elsewhere by selling products and
 27   services of high quality and by fairly and honorably dealing with the trade and
 28   public in the sale of these products and services.

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  1           60.   Google’s conduct, as averred herein, including using and reproducing
  2   the Perfect 10 Marks in commerce in connection with the sale, offering for sale,
  3   and advertising of goods and services on google.com and by Stolen Content
  4   Websites, for the purpose or with the effect of directing consumers who are
  5   searching for authorized Perfect 10 products and services to the Stolen Content
  6   Websites, constitutes infringement of the Perfect 10 Marks in violation of Sections
  7   32 and 43 of the Lanham Act, 15 U.S.C. §§ 1114 and 1125.
  8           61.   Google has knowingly induced the Stolen Content Websites to
  9   infringe the Perfect 10 Marks, and Google has continued to supply Google’s
 10   services to the Stolen Content Websites with knowledge that the Stolen Content
 11   Websites are using Google’s services to infringe the Perfect 10 Marks.
 12           62.   Google’s conduct constitutes contributory infringement of the Perfect
 13   10 Marks.
 14           63.   Google and its advertisers and affiliated Stolen Content Websites
 15   exercise joint control over the search results and advertisements for the Stolen
 16   Content Websites that appear in Google’s search results and/or the manner or order
 17   in which those search results are displayed, and in connection therewith have an
 18   apparent or actual partnership designed to direct consumers searching for goods
 19   and services associated with the Perfect 10 Marks to the Stolen Content Websites,
 20   which infringe the Perfect 10 Marks.
 21           64.   Google’s conduct constitutes vicarious infringement of the Perfect 10
 22   Marks.
 23           65.   The conduct of Google has been and is willful and deliberate.
 24           66.   Perfect 10 is entitled to recover all damages sustained as a result of
 25   Google’s unlawful conduct, including (a) Google’s profits, (b) Perfect 10’s
 26   damages, (c) treble those amounts, (d) costs of suit, and (e) reasonable attorneys’
 27   fees.
 28           67.   Google’s conduct is causing and, unless enjoined and restrained by

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  1   this Court, will continue to cause, Perfect 10 great and irreparable injury that
  2   cannot fully be compensated in money. Perfect 10 has no adequate remedy at law.
  3   Perfect 10 is entitled to injunctive relief prohibiting further infringements of the
  4   Perfect 10 Marks.
  5                             THIRD CLAIM FOR RELIEF
  6                                  (Trademark Dilution)
  7          68.    Perfect 10 re-avers and incorporates herein by reference each and
  8   every averment of paragraphs 1 through 37 and 54 through 67 above as though
  9   fully set forth herein.
 10          69.    The Perfect 10 Marks have become and at all relevant times have been
 11   “famous” within the meaning of 15 U.S.C. § 1125(c).
 12          70.    The Stolen Content Websites typically are of poor quality, provide
 13   poor service and a substandard experience to customers, and intermingle Perfect
 14   10’s high-quality images with unauthorized images or images of poor quality or of
 15   an offensive or illegal nature. The acts of Google averred herein have lessened the
 16   capacity of the Perfect 10 Marks to identify and distinguish Perfect 10’s services
 17   and products from those of the Stolen Content Websites, have tarnished the
 18   valuable image and reputation associated with the Perfect 10 Marks, and have
 19   created an undesirable, unwholesome, or unsavory mental association with Perfect
 20   10 and the Perfect 10 Marks, damaging Perfect 10’s goodwill and disparaging
 21   Perfect 10’s rights in the Perfect 10 Marks. Google’s acts and conduct are in
 22   violation of 15 U.S.C. § 1125(c). Google has willfully intended to trade on Perfect
 23   10’s reputation and/or to cause dilution of the Perfect 10 Marks. Accordingly,
 24   Perfect 10 is entitled to recover all damages sustained as a result of Google’s
 25   unlawful conduct, including (a) Google’s profits, (b) Perfect 10’s damages, (c)
 26   treble those amounts, (d) costs of suit, and (e) reasonable attorneys’ fees.
 27          71.    Google’s conduct is causing and, unless enjoined and restrained by
 28   this Court, will continue to cause, Perfect 10 great and irreparable injury that

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  1   cannot fully be compensated in money. Perfect 10 has no adequate remedy at law.
  2   Perfect 10 is entitled to injunctive relief prohibiting further dilution and
  3   disparagement of the Perfect 10 Marks.
  4                              FOURTH CLAIM FOR RELIEF
  5                   (Unfair Competition – 15 U.S.C. § 1125 et seq., California
  6                    Business and Professions Code §17200, Common Law)
  7         72.       Perfect 10 re-avers and incorporates herein by reference each and
  8   every averment of paragraphs 1 through 37, 54 through 72, as though fully set
  9   forth herein.
 10         73.       Without authorization or license, Google has commercially exploited
 11   and used millions of marketable adult-oriented photographs and likenesses, which
 12   range from the most tame to the most explicit. Through these photographs, which
 13   make Google a content provider for adult photographs of every type and quality, as
 14   well as the use of the names of the persons depicted, Google is unlawfully
 15   exploiting the publicity rights and trademark rights of Perfect 10, as well as the
 16   publicity rights, trademark rights, and copyrights of third-parties. This conduct
 17   enables Google to compete directly and unfairly with Perfect 10 by, among other
 18   things, offering for free millions of valuable photographs and likenesses that are
 19   not lawfully available to Perfect 10 or other competitors acting lawfully, and which
 20   compete unfairly with the photographs and likenesses that Perfect 10 pays to
 21   develop and then sells for a living.
 22         74.       Google further engages in unfair competition by commercially
 23   exploiting, through its advertising programs, Perfect 10 and third-party rights.
 24         75.       In connection with its Adsense program, Google directs and/or
 25   permits Google advertisements to be juxtaposed on Google Adsense websites, with
 26   photographs and likenesses of Perfect 10 models and other models or celebrities,
 27   and other misappropriated photographs and likenesses, without authorization, and
 28   in Perfect 10’s case, in defiance of countless demands to stop commercially

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  1   exploiting Perfect 10’s property without permission. When these advertisements
  2   are clicked upon, Google receives revenue that it shares with its infringing
  3   advertising partners. Examples of Google ads surrounding Perfect 10 images are
  4   shown on the first three pages of Exhibit 2. Examples of Google ads next to
  5   obviously unauthorized images of celebrities are shown in Exhibit 4. The first two
  6   pages of Exhibit 4 are examples of Google advertisements from the Google
  7   Adsense Website members.lycos.nl (printed in January 2007), next to celebrity
  8   “fake” images of Hillary Clinton and Christina Aguilera. The next six pages of
  9   Exhibit 4 are examples of the second Google page where Google ads appear next
 10   to unauthorized images of celebrities Jennifer Love Hewitt, Angelina Jolie,
 11   Christina Aguilera, Cameron Diaz, Claudia Schiffer, and Isabelle Funaro. All of
 12   these images are obtained by clicking on a reduced size image in Google Image
 13   Search results, and then are framed or in-line linked by Google, and are therefore
 14   viewable at google.com, with Google ads. All of the websites in Exhibit 4 have
 15   infringed Perfect 10 copyrights. Google has received repeated notice of
 16   infringement on these websites from Perfect 10 yet continued to place ads for
 17   many months afterward next to Perfect 10 images as well as thousands of celebrity
 18   images on these websites.
 19         76.    In connection with its Adwords program, Google permits, and at times
 20   even advises, websites to use as keywords, the names of well-known celebrities
 21   and Perfect 10 models, as well as Perfect 10’s and third parties’ trademarks/service
 22   marks, for which neither Google nor its third party advertising affiliates possess
 23   any rights. When searches are performed on the names of such celebrities and
 24   models, or on such trademarks/service marks, the websites’ use of these keywords
 25   causes the website to appear in Google’s search results (and in the search results of
 26   Google affiliates who purport to be search engines) under a prominently displayed
 27   heading, “Sponsored Links.” When these websites are clicked upon, Google
 28   receives revenue.

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  1          77.       Google is also knowingly causing passwords to perfect10.com to
  2   appear on google.com (and in the search results of Google affiliates who purport to
  3   be search engines) in response to searches, including such searches as
  4   “perfect10.com passwords.” In addition to displaying such passwords, Google also
  5   provides links to infringing third party “password hacking” websites that provide
  6   perfect10.com and other paysite passwords, and even places Google ads on such
  7   sites. Such passwords enable users to illicitly access Perfect 10’s website and
  8   other websites, and thereby make it exceedingly difficult for Perfect 10 to sell
  9   memberships to its website.
 10          78.       Google is infringing and diluting Perfect 10’s and other parties’
 11   trademarks, as alleged herein.
 12          79.       Google has in effect become the world’s largest adult website,
 13   commercially exploiting massive quantities of other people’s property without
 14   authorization. Google determines which images are shown to consumers, the
 15   arrangement of such images, and what advertising is placed next to such images.
 16   Google receives a massive benefit and is unjustly enriched from all the traffic and
 17   advertising revenue it receives by providing billions of dollars of intellectual
 18   property belonging to others without authorization. Google sells the names of
 19   Perfect 10 models, celebrities, and other persons in its AdWords advertising
 20   program. Google is the information content provider for this adult content.
 21          80.       Google has recently changed its image search results in a way which
 22   is highly defamatory and damaging to Perfect 10 models, actresses, and others by
 23   placing bestiality images and other sexually explicit images next to actual images
 24   (albeit infringing) of those models and actresses in its search results. Whereas
 25   Google used to show mostly infringing images of the actual model, now Google is
 26   showing infringing images of the model along with other images that have nothing
 27   to do with her, but in many cases wrongly portray her to be involved in sexually
 28   explicit acts.

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  1         81.    All of the above is causing direct injury to Perfect 10’s business.
  2   Perfect 10 has suffered injury in fact and has lost money and property as a result of
  3   such unfair competition.
  4         82.    Perfect 10 is entitled to recover all damages sustained as a result of
  5   Google’s unlawful conduct, including (a) Google’s profits, (b) Perfect 10’s
  6   damages, (c) treble those amounts, (d) costs of suit, and (e) reasonable attorneys’
  7   fees. In undertaking the conduct alleged above, Google acted with oppression,
  8   fraud, and malice, with the intent to cause injury to Perfect 10, with the intent to
  9   deprive Perfect 10 of its property and legal rights, and with full knowledge of the
 10   wrongfulness of Google’s conduct. Google’s conduct was undertaken with a
 11   willful and conscious disregard of the rights of Perfect 10 and subjected Perfect 10
 12   to cruel and unjust hardship. Therefore, Perfect 10 is entitled to an award of
 13   punitive damages for the sake of example and to punish Google, in an amount to
 14   be determined at trial.
 15         83.    Google’s conduct is causing and, unless enjoined and restrained by
 16   this Court, will continue to cause, Perfect 10 great and irreparable injury that
 17   cannot fully be compensated or measured in money. Perfect 10 has no adequate
 18   remedy at law. Perfect 10 is entitled to injunctive relief prohibiting further such
 19   unfair competition.
 20                              FIFTH CLAIM FOR RELIEF
 21                              (Violation of Rights of Publicity –
 22               Cal. Civ. Code § 3344 and common-law right of publicity)
 23         84.    Perfect 10 re-avers and incorporates herein by reference each and
 24   every averment of paragraphs 1 through 37 above as though fully set forth herein.
 25         85.    Perfect 10 is the exclusive owner of the Perfect 10 Rights of Publicity,
 26   as the exclusive assignee of publicity rights, including in the names, photographs,
 27   and likenesses, of certain Perfect 10 models. Attached hereto as Exhibit 8, and by
 28   this reference incorporated herein, is a list of Perfect 10 models for which Perfect

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  1   10 is asserting rights of publicity in this case, (“the Perfect 10 Rights of
  2   Publicity”). Largely as a result of the efforts and expenditures of Perfect 10, the
  3   names, photographs, and likenesses of these Perfect 10 models have received
  4   widespread recognition, particularly among the consumers and potential consumers
  5   of adult entertainment products.
  6         86.    Google has infringed the Perfect 10 Rights of Publicity by using the
  7   names, photographs, and likenesses of Perfect 10 models in readily identifiable
  8   ways in, and in connection with, products, merchandise, and goods, and to
  9   advertise, promote, and attract attention to its website and to its pirate advertising
 10   affiliates, to increase advertising revenues. Google has knowingly used the Perfect
 11   10 Rights of Publicity, without the prior consent of Perfect 10 or any authorized
 12   party, on or in connection with products, merchandise, goods, or services, or in
 13   advertising them.
 14         87.    Google uses the names of Perfect 10 models to provide a collection of
 15   photographs to Google users, many of which have nothing to do with the model,
 16   and in many cases wrongly portray the Perfect 10 model to be engaged in explicit
 17   sexual acts, including having sex with animals. In response to a search on the
 18   name of a Perfect 10 model, Google creates its own presentation of infringing
 19   images which Google has selected and copied from the internet, and which Google
 20   alone determines. Google has determined that many of these images should not be
 21   that of the model; that a disproportionately high percentage should link to its
 22   infringing advertising affiliates; and that in the case of Perfect 10, many
 23   completely unrelated and extraordinarily explicit images should be routinely
 24   interspersed with actual images of Perfect 10 models. Google finds and selects the
 25   material and creates its own web page to display it. The collection of images and
 26   the text that Google creates in response to searches on Perfect 10 model names is
 27   used for a commercial purpose to attract traffic to Google. When a Google
 28   thumbnail is clicked on to provide the full-size image, Google also determines

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  1   what advertising is placed around that image. Google receives the benefit of the
  2   advertising and increased traffic from providing this content. Google is the
  3   information content provider for this adult content.
  4         88.    Google has sold to advertisers, without authorization, the use of the
  5   names of Perfect 10 models as key words. In many cases, the net effect has been
  6   to drive traffic and revenue to Google, using the model’s name without permission,
  7   and in the process, damage the model’s reputation.
  8         89.    By reason of Google’s acts and conduct, Perfect 10 has suffered
  9   substantial damage to its business in the form of diversion of trade, loss of profits,
 10   injury to goodwill and reputation, and a dilution of the value of its exclusive rights
 11   of publicity, all of which are not yet fully ascertainable. Perfect 10 is entitled to
 12   recover (a) its actual damages, (b) profits of the infringer, (c) statutory damages,
 13   (d) punitive damages, and (e) attorneys’ fees and costs.
 14         90.    Google’s conduct is causing and, unless enjoined and restrained by
 15   this Court, will continue to cause Perfect 10 great and irreparable injury that cannot
 16   fully be compensated in money. Perfect 10 has no adequate remedy at law.
 17   Perfect 10 is entitled to injunctive relief prohibiting further infringements of its
 18   rights of publicity.
 19         91.    Perfect 10 is informed and believes, and on that basis avers, that the
 20   aforementioned acts of Google were willful, oppressive, fraudulent, or malicious,
 21   and Perfect 10 therefore is entitled to punitive damages.
 22         92.    Perfect 10 further is entitled to its attorneys’ fees and statutory
 23   damages pursuant to California Civil Code § 3344(a) and other laws.
 24                                 SIXTH CLAIM FOR RELIEF
 25                                      (Unjust Enrichment)
 26         93.    Perfect 10 re-avers and incorporates herein by reference each and
 27   every averment of paragraphs 1 through 37, 54 through 92, above, as though fully
 28   set forth herein.

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  1         94.    By engaging in the acts described above, Google has and continues to
  2   benefit from its wrongdoing, and has been unjustly enriched by reaping the
  3   benefits of its unlawful activities to the damage and irreparable harm of Perfect 10.
  4   Despite countless notices from Perfect 10, Google continues to use Perfect 10’s
  5   property for Google’s own commercial gain, without authorization.
  6         95.    The circumstances are such that it would be inequitable for Google to
  7   retain the benefits received from the actions described without repaying the lost
  8   value to Perfect 10.
  9                              SEVENTH CLAIM FOR RELIEF
 10                                       (Misappropriation)
 11         96.    Perfect 10 re-avers and incorporates herein by reference each and
 12   every averment of paragraphs 1 through 37, 54 through 72, above, as though fully
 13   set forth herein.
 14         97.    Perfect 10 invested substantial time, skill, and money in developing its
 15   property.
 16         98.    Google appropriated and used Perfect 10’s property at little or no cost
 17   to Google.
 18         99.    Google’s appropriation and use of Perfect 10’s property was without
 19   the authorization or consent of Perfect 10.
 20         100. Perfect 10 was injured by Google’s conduct.
 21         101. All of the above is causing direct injury to Perfect 10’s business.
 22   Perfect 10 has suffered injury in fact and has lost money and property as a result of
 23   Google’s acts.
 24         102. In undertaking the conduct alleged above, Google acted with
 25   oppression, fraud, and malice, with the intent to cause injury to Perfect 10, with the
 26   intent to deprive Perfect 10 of its property and legal rights, and with full
 27   knowledge of the wrongfulness of Google’s conduct. Google’s conduct was
 28   undertaken with a willful and conscious disregard of the rights of Perfect 10 and

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  1   subjected Perfect 10 to cruel and unjust hardship. Therefore, Perfect 10 is entitled
  2   to an award of punitive damages for the sake of example and to punish Google, in
  3   an amount to be determined at trial.
  4         103. Google’s conduct is causing and, unless enjoined and restrained by
  5   this Court, will continue to cause Perfect 10 great and irreparable injury that cannot
  6   fully be compensated or measured in money. Perfect 10 has no adequate remedy at
  7   law. Perfect 10 is entitled to injunctive relief prohibiting further such
  8   misappropriation.
  9
 10                                 PRAYER FOR RELIEF
 11         WHEREFORE, plaintiff Perfect 10 prays for judgment against Google, and
 12   each of the Doe Defendants, as follows:
 13                1.     That Google, and each of the Doe Defendants, and their
 14   officers, agents, servants, employees, representatives, successors, and assigns, and
 15   all persons in active concert or participation with them, be enjoined from:
 16                       a.     copying, reproducing, distributing, adapting, or publicly
 17         displaying the Perfect 10 Copyrighted Works;
 18                       b.     posting Perfect 10 copyrighted photographs on the
 19         internet;
 20                       c.     posting Perfect 10 passwords and user names on the
 21         internet.
 22                       d.     using, authorizing the use of, copying, reproducing or
 23         imitating the Perfect 10 Marks, or any confusingly similar or colorable
 24         imitation thereof;
 25                       e.     violating the Perfect 10 Rights of Publicity;
 26                       f.     competing unfairly with Perfect 10 by violating the
 27         publicity rights of Perfect 10 and others, by providing unauthorized
 28         passwords to perfect10.com and other pay websites, and by infringing

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